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                               UNITED STATES BANKRUPTCY COURT
                                 EASTERN DISTRICT OF MISSOURI
                                       EASTERN DIVISION


    In re:                                                                Chapter 11

    23ANDME HOLDING CO., et al., 1                                        Case No. 25-40976

                             Debtors.                                     (Joint Administration Requested)

                                                                          Objection Deadline: TBD 2
                                                                          Hearing Date: TBD
                                                                          Hearing Time: TBD
                                                                          Hearing Location: TBD


                        DEBTORS’ MOTION FOR ENTRY
                 OF AN ORDER (I) AUTHORIZING (A) REJECTION
          OF CERTAIN EXECUTORY CONTRACTS AND UNEXPIRED LEASES
     AND (B) ABANDONMENT OF CERTAIN PERSONAL PROPERTY, IF ANY, EACH
    EFFECTIVE AS OF THE PETITION DATE AND (II) GRANTING RELATED RELIEF

             The above-captioned debtors and debtors in possession (collectively, the “Debtors”)

respectfully state as follows in support of this motion:

                                                Relief Requested 3

             1.    The Debtors seek entry of an order (the “Proposed Order”) 4 (a) authorizing the

Debtors to (i) reject certain executory contracts and unexpired leases for non-residential real

property located at the premises (collectively, the “Premises”) set forth on Exhibit A, in each case,



1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at https://restructuring.ra.kroll.com/23andMe. The Debtors’ service address
      for purposes of these chapter 11 cases is: 870 Market Street, Room 415, San Francisco, CA 94102.
2
      The Debtors will file a notice stating the date, time, and location of the hearing on this motion, as well as the
      objection deadline (which will be at least seven days in advance of the hearing date), once this information
      becomes available.
3
      Capitalized terms used but not defined in this section have the meanings ascribed to such terms elsewhere in this
      motion.
4
      A copy of the Proposed Order will be made available on the website of the Debtors’ proposed claims and noticing
      agent at https://restructuring.ra.kroll.com/23andMe.
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including any guaranties thereof and any amendments, modifications, or subleases thereto, as

applicable (each, a “Lease” or a “Contract,” as applicable) and (ii) abandon certain equipment,

fixtures, furniture, or other personal property (the “Personal Property”) that may be located at the

Premises, each effective as of the Petition Date and (b) granting related relief.

                                         Jurisdiction and Venue

        2.      The United States Bankruptcy Court for the Eastern District of Missouri

(the “Court”) has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157 and 1334 and

rule 9.01(B) of the Local Rules of the United States District Court for the Eastern District of

Missouri. This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b). The Debtors

consent to a final order with respect to this motion to the extent that it is later determined that the

Court, absent consent of the parties, cannot enter final orders or judgments in connection herewith

consistent with Article III of the United States Constitution.

        3.      Venue is proper pursuant to 28 U.S.C. §§ 1408 and 1409.

        4.      The bases for the relief requested herein are sections 365(a) and 554(a) of title 11

of the United States Code, 11 U.S.C. §§ 101 et seq. (the “Bankruptcy Code”), and rules 6004,

6006, and 6007 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

                                                Background

        5.      23andMe Holding Co. (collectively with its Debtor subsidiaries and non-Debtor

affiliates, 5 the “Company”) is a leading human genetics and telehealth company with a mission to

help people access, understand, and benefit from the human genome. The Company pioneered

direct access to genetic information as the only company with multiple FDA clearances for genetic

health reports. Further, through its Lemonaid Health telehealth platform, the Company operates


5
    Non-Debtor affiliates exclude any controlling shareholder of 23andMe Holding Co.



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as a national online doctor’s office that provides medical care, pharmacy fulfillment, and

laboratory testing services.

        6.      On March 23, 2025 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code.

        7.      The Debtors are operating their business and managing their property as debtors in

possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. The Debtors have filed

a motion requesting procedural consolidation and joint administration of these chapter 11 cases

pursuant to Bankruptcy Rule 1015(b) substantially contemporaneously herewith. No request for

the appointment of a trustee or examiner has been made in these chapter 11 cases, and no

committees have been appointed or designated at this time.

        8.      A detailed description of the Debtors and their business, including the facts and

circumstances giving rise to the Debtors’ chapter 11 cases, is set forth in the Declaration of

Matthew Kvarda in Support of Chapter 11 Petitions and First Day Motions (the “First Day

Declaration”), filed substantially contemporaneously herewith and incorporated herein by

reference. 6

                                Leases and Contracts to Be Rejected

        9.      Prior to the Petition Date, the Debtors (in consultation with their advisors) began a

review of their executory contracts and unexpired leases and considered ways to alleviate onerous

obligations thereunder. As a result of this analysis, the Debtors determined, in their business

judgment, that certain of their contracts and leases were not necessary to, and would impose

substantial burdens on, their ongoing business operations and restructuring efforts. Accordingly,




6
    Capitalized terms used but not defined herein shall have the meanings ascribed to them in the First Day
    Declaration.



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in order to maximize the value of their estates, the Debtors seek to reject the following Contracts

and Leases, which are also are identified and described on Exhibit A hereto:

               a.     Leases

                      1. Sunnyvale Office Lease. Debtor 23andMe, Inc. is party to an office lease
                         agreement (the “Sunnyvale Office Lease”) with 221 N Mathilda, LLC,
                         a Delaware limited liability company, as landlord (the “Sunnyvale
                         Landlord”), under which 23andMe, Inc. leases office space in
                         Sunnyvale, California. Prior to the Petition Date, 23andMe, Inc.
                         determined, in its business judgment, that it was no longer necessary or
                         desirable to occupy the Premises related to the Sunnyvale Office Lease
                         and engaged in discussions with the Sunnyvale Landlord to terminate
                         the Sunnyvale Office Lease, which did not culminate in any agreement.
                         Prior to the Petition Date, 23andMe, Inc. vacated the Sunnyvale Office
                         Lease Premises. Accordingly, the Debtors now seek to reject the
                         Sunnyvale Office Lease.

                      2. Sunnyvale Office Sublease. Debtor 23andMe, Inc. is party to a sublease
                         agreement with CoreWeave, Inc., under which 23andMe, Inc. subleases
                         a portion of office space that it rents pursuant to the Sunnyvale Office
                         Lease to CoreWeave, Inc., as subtenant. The Debtors seek to reject the
                         sublease in connection with the proposed rejection of the Sunnyvale
                         Office Lease.

                      3. Oyster Point Tech Center Lease. Debtor 23andMe, Inc. is party to a
                         lease agreement with KR OP TECH, LLC, as landlord, pursuant to
                         which it leases office space that was formerly utilized by the Debtors’
                         therapeutics business (the “Oyster Point Tech Center Lease”). In
                         November 2024, the Debtors determined to cease its therapeutics
                         division as part of a broader restructuring to focus on the long-term
                         success of their core customer business and research partnerships. As a
                         result, prior to the Petition Date, the Debtors vacated the Premises
                         associated with the Oyster Point Tech Center Lease. Prior to the Petition
                         Date, the Debtors were engaged with the landlord regarding termination
                         of the lease, which did not culminate in any agreement. Accordingly,
                         the Debtors have determined to reject the lease at the outset of these
                         chapter 11 cases.

               b.     Contracts

                      1. Contracts Related to the Leases to be Rejected. The Debtors are party
                         to several contracts related to their operation of the Premises associated
                         with the Sunnyvale Office Lease and the Oyster Point Tech Center
                         Lease that they seek to reject as described above. Among other things,
                         these contracts govern provision of security, maintenance, cleaning,


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                           HVAC, and similar services for such Premises. The Debtors no longer
                           require the services rendered under such Contracts since they no longer
                           occupy the Premises and seek to reject such Leases under this motion.
                           Accordingly, the Debtors seek to reject such related Contracts at the
                           outset of these chapter 11 cases.

                       2. Miscellaneous Contracts. The Debtors also seek to reject certain other
                          Contracts that, in their business judgment, are not necessary or are
                          burdensome to their estates, including certain software and information
                          technology Contracts.

       10.     By rejecting the Contracts and Leases at the outset of their chapter 11 cases, the

Debtors will shed the related financial burdens and avoid postpetition expenses that are not

reasonably likely to provide a tangible benefit to their estates. Absent rejection, the Debtors would

be obligated to pay rent under the Leases and will no longer be in possession of the Premises to

which the Leases pertain. The Debtors likewise would be obligated to pay their proportionate

share of common area expenses, real property taxes, utility costs, insurance, and other related

charges associated with certain of the Leases. In addition, the Debtors have reviewed the market

value of the Leases and determined, in their business judgment, that marketing the Leases for

assignment or sublease to a third party would not generate any significant value for the estates,

especially compared to the continued costs associated with maintaining the Premises. Relatedly,

with respect to the Contracts, the Debtors have determined, in their business judgment that such

contracts (a) are no longer required to operate the Debtors’ business, (b) do not provide any value

to the Debtors’ estates, and/or (c) may give rise to additional claims against the Debtors without

any corresponding benefit to the estates if they are not rejected as of the Petition Date.

       11.     In addition, during the ordinary course of business, the Debtors accumulated certain

miscellaneous assets at the Premises, including certain furniture and office equipment, of limited

value. The Debtors have determined, in the exercise of their business judgment, that certain of

these assets would be difficult or expensive to remove or store, or, in the Debtors’ estimation, is



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of limited value, and therefore, the Debtors will not realize any economic benefit by retaining the

Personal Property. Accordingly, the Debtors request authority to reject the Contracts and Leases

and, with respect to the Leases, abandon any remaining Personal Property, each effective as of the

Petition Date.

                                           Basis for Relief

A.     Rejection of the Contracts and Leases Effective as of the Petition Date Is Appropriate
       and Provides the Debtors with Significant Cost Savings

       12.       Section 365(a) of the Bankruptcy Code provides that a debtor in possession,

“subject to the court’s approval, may assume or reject any executory contract or unexpired lease

of the debtor.” 11 U.S.C. § 365(a). A debtor’s ability to reject a burdensome agreement is a

“fundamentally important component of bankruptcy law.” In re Noranda Aluminum, Inc., 549

B.R. 725, 727 (Bankr. E.D. Mo. 2016); see also Nat’l Labor Relations Bd. v. Bildisco & Bildisco,

465 U.S. 513, 528 (1984), superseded by statute as recognized in Am. Flint Glass Workers Union

v. Anchor Resolution Corp., 197 F.3d 76, 82 (3d Cir. 1999), (“[T]he authority to reject an

executory contract is vital to the basic purpose to a Chapter 11 reorganization, because rejection

can release the debtor’s estate from burdensome obligations that can impede a successful

reorganization.”).

       13.       The decision to assume or reject an executory contract or unexpired lease is a matter

within the “business judgment” of the debtor. Noranda, 549 B.R. at 728 (citing Four B. Corp. v

Food Barn Stores, Inc., 107 F.3d 558, 567 n.16 (8th Cir. 1997); Crystalin, L.L.C. v. Selma Props.,

Inc., 293 B.R. 455, 463-64 (B.A.P. 8th Cir. 2003)); see also In re Steaks To Go, Inc., 226 B.R. 35,

37 (Bankr. E.D. Mo. 1998) (“Generally, a Bankruptcy Court is to review a decision by a debtor in

possession or a trustee to reject an executory contract, and order rejection if the rejection is based

on the debtor or trustee’s best business judgment in the circumstances.”). The business judgment



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test “is not an onerous one and does not require the bankruptcy court to place itself in the position

of the trustee or debtor-in-possession and determining whether assuming the [lease] would be a

good business decision or a bad one.” Noranda, 549 B.R. at 728 (quoting Crystalin, 293 B.R. at

464) (internal quotations omitted).

       14.     In the Eighth Circuit, under the business judgment standard, the decision to reject

an agreement must be in the “exercise of sound business judgment showing benefit to the estate.”

Noranda, 549 B.R. at 728 (quoting Crystalin, 293 B.R. at 464) (internal quotations omitted).

Further, the bankruptcy court “should not interfere with the trustee or debtor-in-possession’s

business judgment except on a finding of bad faith or gross abuse of their business discretion.”

Noranda, 549 B.R. at 728 (citing Crystalin, 293 B.R. at 464) (internal quotations omitted). If a

debtor’s request to reject an executory contract or unexpired lease “is not manifestly unreasonable

or made in bad faith, the court should normally grant approval as long as the proposed action

appears to enhance the debtor’s estate.” Noranda, 549 B.R. at 728 (citing Food Barn, 107 F.3d at

567 n.16 (internal quotations omitted)).

       15.     Rejection of the Contracts and Leases is well within the Debtors’ business judgment

and is in the best interest of their estates. The Debtors seek to reject the Contracts and Leases,

which they believe are unlikely to provide a net benefit to their estates, in order to avoid the

incurrence of any additional, unnecessary expenses related to the Contracts and Leases and the

maintenance of the related Premises. Absent rejection, the Contracts and Leases will continue to

burden the Debtors’ estates with significant administrative expenses, without sufficient marginal

revenue to justify the incurrence of such costs. Rejecting the Contracts and Leases will help

increase the Debtors’ liquidity and otherwise facilitate the efficient administration of the Debtors’

estates. Additionally, the Debtors have also determined that there is no net benefit likely to be




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realized from efforts to market the Contracts and Leases for potential assignment or sublease.

Accordingly, to relieve the Debtors of burdensome obligations that would drain resources from

their estates, the Debtors seek to reject the Contracts and Leases effective as of the Petition Date.

B.     The Court Should Deem the Contracts and Leases Rejected as of the Petition Date
       16.     Section 365 of the Bankruptcy Code does not restrict a bankruptcy court from

applying rejection retroactively. See, e.g., Pac. Shores Dev., LLC v. At Home Corp. (In re At Home

Corp.), 392 F.3d 1064, 1065–71 (9th Cir. 2004) (affirming bankruptcy court’s approval of

retroactive rejection), cert. denied, 546 U.S. 814 (2005); Thinking Machs. Corp. v. Mellon Fin.

Servs. Corp. (In re Thinking Machs. Corp.), 67 F.3d 1021, 1029 (1st Cir. 1995) (indicating

“rejection under section 365(a) does not take effect until judicial approval is secured, but the

approving court has the equitable power, in suitable cases, to order a rejection to operate

retroactively” to the motion filing date); Constant Ltd. P’ship v. Jamesway Corp. (In re Jamesway

Corp.), 179 B.R. 33, 37 (S.D.N.Y. 1995) (section 365 “does not state that rejection cannot be

applied retroactively, or that there are restrictions as to the manner in which the court can approve

rejection”); In re Chi-Chi’s, Inc., 305 B.R. 396, 399 (Bankr. D. Del. 2004) (“[T]he court’s power

to grant retroactive relief is derived from the bankruptcy court’s equitable powers so long as it

promotes the purposes of § 365(a).”).

       17.     Here, the balance of equities favors rejection of the Contracts and Leases effective

as of the Petition Date. Without such relief, the Debtors will potentially incur unnecessary

administrative expenses related to the Contracts and Leases—agreements that provide no benefit

to the Debtors’ estates in light of the obligations the Debtors are obligated to pay thereunder.

See 11 U.S.C. § 365(d)(3). The counterparties to the Contracts and Leases will not be unduly

prejudiced if the rejection is deemed effective as of the Petition Date. Further, the Contract and




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Lease counterparties (and, where applicable, their respective counsel) are receiving notice of the

Debtors’ intention to reject the Contracts and Leases by service of this motion.

        18.     The Debtors have sought the relief requested at the earliest possible moment in

these chapter 11 cases and do not seek to reject the Leases and Contracts effective as of the Petition

Date due to any undue delay on their own part. Based on this factual record, no party can assert

that the Debtors seek to write any “revisionist history.” Roman Cath. Archdiocese of San Juan,

P.R. v. Acevedo Feliciano, 140 S. Ct. 696, 701 (2020) (“Federal courts may issue nunc pro tunc

orders, or ‘now for then’ orders, . . . to ‘reflect the reality’ of what has already occurred” but not

as a “vehicle for . . . creating ‘facts’ that never occurred”) (internal citations omitted). Accordingly,

the Debtors respectfully request that the Court deem the Contracts and Leases identified on

Exhibit A rejected effective as of the Petition Date.

C.      The Abandonment of Personal Property Is Appropriate

        19.     The abandonment of the Personal Property is appropriate and authorized by the

Bankruptcy Code. See 11 U.S.C. § 554(a). Section 554(a) provides that “[a]fter notice and a

hearing, the trustee may abandon any property of the estate that is burdensome to the estate or that

is of inconsequential value and benefit to the estate.” 11 U.S.C. § 554(a). Courts generally give

great deference to a debtor in possession’s decision to abandon property. See, e.g., In re Vel Rey

Props., Inc., 174 B.R. 859, 867 (Bankr. D.D.C. 1994) (“Clearly, the court should give deference

to the trustee’s judgment in such matters.”). Unless certain property is harmful to the public, once

a debtor has shown that it is burdensome or of inconsequential value to the estate, a court should

approve the abandonment. See id.

        20.     Before deciding to abandon the Personal Property (if any), the Debtors determined

that it was of inconsequential value to their estates and the costs of removing or storing the Personal




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Property would exceed any realistic economic benefit that may be realized by retaining it. Further,

any efforts by the Debtors to move or market the Personal Property could unnecessarily delay the

Debtors’ surrender of the Premises and the rejection of the leases. Accordingly, it is in the best

interests of the Debtors and their estates for the Debtors to abandon Personal Property located on

the Premises.

                       Waiver of Bankruptcy Rules 6004(a) and 6004(h)

       21.      Bankruptcy Rule 6004(h) provides that “[a]n order authorizing the use, sale, or

lease of property (other than cash collateral) is stayed for 14 days after the order is entered.” Fed.

R. Bankr. P. 6004(h). As described above, the relief that the Debtors seek in this motion is

necessary for the Debtors to operate their business without interruption and to preserve value for

their estates through these chapter 11 cases. Accordingly, to the extent any aspect of the relief

sought herein constitutes a use of property under section 363(b) of the Bankruptcy Code, the

Debtors request that the Court enter an order providing that notice of the relief requested herein

satisfies Bankruptcy Rule 6004(a) and that the Debtors have established cause to exclude such

relief from the 14-day stay period under Bankruptcy Rule 6004(h).

                                      Reservation of Rights

       22.      Except as expressly set forth herein, nothing contained herein or any actions taken

pursuant to such relief requested is intended to be or should be construed as: (a) an admission as

to the amount of, basis for, or validity of any claim against a Debtor entity under the Bankruptcy

Code or other applicable law; (b) a waiver of the Debtors’ or any other party in interest’s right to

dispute any claim on any grounds; (c) a promise or requirement to pay any claim; (d) an

implication or admission that any particular claim is of a type specified or defined in this motion

or any order granting the relief requested by this motion or a finding that any particular claim is

an administrative expense claim or other priority claim; (e) other than with respect to the Contracts


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and Leases, a request or authorization to assume, adopt, or reject any agreement, contract, or lease

pursuant to section 365 of the Bankruptcy Code; (f) an admission as to the validity, priority,

enforceability, or perfection of any lien on, security interest in, or other encumbrance on property

of the Debtors’ estates; (g) a waiver or limitation of the Debtors’ or any other party in interest’s

rights under the Bankruptcy Code or any other applicable law; (h) a waiver of the obligation of

any party in interest to file a proof of claim; or (i) a concession by the Debtors that any liens

(contractual, common law, statutory, or otherwise) that may be satisfied pursuant to the relief

requested in this motion are valid, and the rights of all parties in interest are expressly reserved to

contest the extent, validity, or perfection of, or seek avoidance of, all such liens. If the Court grants

the relief sought herein, any payment made pursuant to the Court’s order is not intended and should

not be construed as an admission as to the validity of any particular claim or a waiver of the

Debtors’ or any other party in interest’s rights to subsequently dispute such claim.

                                                Notice

        23.     The Debtors will provide notice of this motion to the following parties: (a) the

Office of the United States Trustee for the Eastern District of Missouri; (b) the holders of the 30

largest unsecured claims against the Debtors (on a consolidated basis); (c) the law firms

representing claimants who have filed or asserted claims arising out of the Cyber Security Incident

as of the Petition Date; (d) the agent/lender under any proposed postpetition financing facility and

its counsel, if applicable; (e) the Contract and Lease counterparties; (f) the United States Attorney’s

Office for the Eastern District of Missouri; (g) the Internal Revenue Service; (h) the Securities and

Exchange Commission; (i) the Federal Trade Commission; (j) the state attorneys general in all 50

states; and (k) any party that has requested notice pursuant to Bankruptcy Rule 2002 (collectively,

the “Notice Parties”). Notice of this motion and any order entered hereon will be served in

accordance with rule 9013-3(A)(1) of the Local Rules of Bankruptcy Procedure for the Eastern


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District of Missouri (the “Local Rules”). The Debtors submit that, in light of the nature of the

relief requested, no other or further notice need be given.

       24.     A copy of this motion is available on (a) PACER at https://pacer.uscourts.gov/ and

(b) the website maintained by the Debtors’ proposed claims and noticing agent, Kroll

Restructuring Administration LLC, at https://restructuring.ra.kroll.com/23andMe.

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       WHEREFORE, the Debtors respectfully request that the Court enter the Proposed Order

and grant such other relief as the Court deems appropriate under the circumstances.

Dated: March 23, 2025                       Respectfully submitted,
St. Louis, Missouri
                                            Carmody MacDonald P.C.
                                            /s/ Thomas H. Riske
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                                            Nathan R. Wallace #74890MO
                                            Jackson J. Gilkey #73716MO
                                            120 S. Central Avenue, Suite 1800
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                                                           nrw@carmodymacdonald.com
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                                            - and -

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                                            Proposed Counsel to the Debtors and Debtors in
                                            Possession




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                                    Exhibit A

                            The Contracts and Leases
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Lease Contract Rejection Exhibit

                 Counterparty                      Debtor                      Description of                         Property               Description of       Rejection
 #
                    Name                         Counterparty                    Contract1                            Address              Abandoned property   Effective Date
                                                                           LEASE AGREEMENT
             221 N MATHILDA, LLC /                                                                            223 N. MATHILDA AVENUE,         Furniture and
 1                                              23ANDME, INC.             SUNNYVALE OFFICE,                                                                        3/23/2025
              SCG Grove 221, LLC                                                                                SUNNYVALE, CA 94086              fixtures
                                                                            DATED 01/24/2019
                                                                         SUBLEASE AGREEMENT
                                                                                                              223 N. MATHILDA AVENUE,
 2             COREWEAVE, INC.                  23ANDME, INC.             SUNNYVALE OFFICE,                                                        --              3/23/2025
                                                                                                                SUNNYVALE, CA 94086
                                                                            DATED 08/15/2024
                                                                           LEASE AGREEMENT
                KR OP TECH, LLC /                                                                          349 OYSTER POINT BOULEVARD,        Furniture and
 3                                              23ANDME, INC.         SOUTH SAN FRANCISCO OFFICE,                                                                  3/23/2025
             Kilroy Realty Corporation                                                                    SOUTH SAN FRANCISCO, CA 94080          fixtures
                                                                            DATED 02/28/2023

Notes
[1] The agreements referenced herein include any amendments or modifications thereto




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Other Contract Rejection Exhibit

                Counterparty                Debtor                        Description of                                    Counterparty             Rejection
#
                   Name                   Counterparty                      Contract1                                         Address              Effective Date
                                                                                                                     14141 SOUTHWEST FREEWAY,
                                                           ADDENDUM NO. 1 TO THE MASTER SERVICES
1        ABM INDUSTRY GROUPS, LLC         23ANDME, INC.                                                                       SUITE 477               3/23/2025
                                                                AGREEMENT DATED 11/09/2020
                                                                                                                         SUGAR LAND, TX 77478
                                                                                                                     14141 SOUTHWEST FREEWAY,
                                                           EXHIBIT A STATEMENT OF WORK #4 DATED
2        ABM INDUSTRY GROUPS, LLC         23ANDME, INC.                                                                       SUITE 477               3/23/2025
                                                                          08/22/2022
                                                                                                                         SUGAR LAND, TX 77478
                                                                                                                     14141 SOUTHWEST FREEWAY,
3        ABM INDUSTRY GROUPS, LLC         23ANDME, INC.    STATEMENT OF WORK #3 DATED 04/18/2022                              SUITE 477               3/23/2025
                                                                                                                         SUGAR LAND, TX 77478
                                                                                                                        300 BROADWAY STREET
                                                           MAINTENANCE SERVICE AGREEMENT DATED
4        ACCO ENGINEERED SYSTEMS          23ANDME, INC.                                                                        SUITE 20               3/23/2025
                                                                         10/07/2019
                                                                                                                    SAN FRANCISCO, CA 94133-4529
                                                               MASTER SERVICES AGREEMENT DATED                           967 MABURY ROAD
5    ADVANCED CHEMICAL TRANSPORT, INC.    23ANDME, INC.                                                                                               3/23/2025
                                                                           01/22/2025                                    SAN JOSE, CA 95133

                                                                                                                         967 MABURY ROAD
6    ADVANCED CHEMICAL TRANSPORT, INC.    23ANDME, INC.        LETTER AGREEMENT DATED 04/27/2020                                                      3/23/2025
                                                                                                                         SAN JOSE, CA 95133

                                                          TERMINATION LETTER FOR THE STATEMENT OF                        229 N FIRST STREET
7    ALLIED UNIVERSAL SECURITY SERVICES   23ANDME, INC.                                                                                               3/23/2025
                                                                  WORK #4 DATED 10/09/2024                               SAN JOSE, CA 95132

        AUTOMATED BUILDING CONTROL                                                                                      330 MATHEW STREET
8                                         23ANDME, INC.    TERMS AND CONDITIONS DATED 12/20/2021                                                      3/23/2025
                SOLUTIONS                                                                                              SANTA CLARA, CA 95050
                                                                                                                      555 MONTGOMERY STREET
9             BENCHLING, INC.             23ANDME, INC.           SALES ORDER DATED 06/24/2024                                 #1700                  3/23/2025
                                                                                                                      SAN FRANCISCO, CA 94111
                                                                                                                      555 MONTGOMERY STREET
10            BENCHLING, INC.             23ANDME, INC.           SALES ORDER DATED 06/24/2024                                 #1700                  3/23/2025
                                                                                                                      SAN FRANCISCO, CA 94111
                                                                                                                      555 MONTGOMERY STREET
11            BENCHLING, INC.,            23ANDME, INC.    CUSTOMER AGREEMENT DATED 04/30/2021                                 #1700                  3/23/2025
                                                                                                                      SAN FRANCISCO, CA 94111
                                                                                                                     3020 CARRINGTON MILL BLVD
12         BRAVOSOLUTION UK LTD           23ANDME, INC.        USER AGREEMENT DATED (None entered)                           SUITE 100                3/23/2025
                                                                                                                        MORRISVILLE, NC 27560
                                                                                                                         6800 CINTAS BLVD.
13       CINTAS CORPORATION NO. 2         23ANDME, INC.                  DATED 10/08/2019                                                             3/23/2025
                                                                                                                      CINCINNATI, OH 45262-5737




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Other Contract Rejection Exhibit

                Counterparty                Debtor                         Description of                                    Counterparty             Rejection
#
                   Name                   Counterparty                       Contract1                                         Address              Effective Date

     CONTROLLED CONTAMINATION SERVICES,                        JANITORIAL CLEANING PROPOSAL DATED                      6150 LUSK BLVD SUITE 205B
14                                        23ANDME, INC.                                                                                                3/23/2025
                    LLC                                                      01/01/2020                                   SAN DIEGO, CA 92121

                                                                                                                        1350 W. MIDDLEFIELD RD
15              EGNYTE, INC.              23ANDME, INC.     RENEWAL ORDER FORM DATED 05/26/2024                                                        3/23/2025
                                                                                                                       MOUNTAIN VIEW, CA 94043

                                                                                                                        1350 W. MIDDLEFIELD RD
16              EGNYTE, INC.              23ANDME, INC.     RENEWAL ORDER FORM DATED 05/26/2024                                                        3/23/2025
                                                                                                                       MOUNTAIN VIEW, CA 94043

                                                                                                                        1350 W. MIDDLEFIELD RD
17              EGNYTE, INC.              23ANDME, INC.           ORDER FORM DATED 05/21/2021                                                          3/23/2025
                                                                                                                       MOUNTAIN VIEW, CA 94043
                                                                                                                        410 TOWNSEND STREET
                                                          NOTICE OF THE NON-RENEWAL OF THE ORDER
18               ENVOY, INC.              23ANDME, INC.                                                                       4TH FLOOR                3/23/2025
                                                                    FORM DATED 05/04/2024
                                                                                                                       SAN FRANCISCO, CA 94107
                                                                                                                        410 TOWNSEND STREET
19               ENVOY, INC.              23ANDME, INC.         SAAS AGREEMENT DATED 05/04/2024                               4TH FLOOR                3/23/2025
                                                                                                                       SAN FRANCISCO, CA 94107
                                                                                                                      3020 CARRINGTON MILL BLVD
20              JAGGAER, LLC              23ANDME, INC.           ORDER FORM DATED 09/09/2023                                  SUITE 100               3/23/2025
                                                                                                                         MORRISVILLE, NC 27560
                                                                                                                      3020 CARRINGTON MILL BLVD
21              JAGGAER, LLC              23ANDME, INC.           ORDER FORM DATED 09/09/2022                                  SUITE 100               3/23/2025
                                                                                                                         MORRISVILLE, NC 27560
                                                          TALENT TRANSFORMATION CONFERENCE DATED                        1000 W. MAUDE AVENUE
22          LINKEDIN CORPORATION          23ANDME, INC.                                                                                                3/23/2025
                                                                         03/13/2020                                      SUNNYVALE, CA 94085

                                                                                                                        1000 W. MAUDE AVENUE
23          LINKEDIN CORPORATION          23ANDME, INC.           ORDER FORM DATED 09/14/2023                                                          3/23/2025
                                                                                                                         SUNNYVALE, CA 94085

                                                           TERMINATION OF THE STATEMENT OF WORK                             3536 ARDEN RD.
24 O’SULLIVAN VENDING & COFFEE SERVICES   23ANDME, INC.                                                                                                3/23/2025
                                                                      DATED 09/25/2022                                    HAYWARD, CA 94545
                                                                                                                          228 PARK AVENUE S.
                                                                        SERVICES AGREEMENT
25              OFFICE SPACE              23ANDME, INC.                                                                       SUITE 39903              3/23/2025
                                                                         DATED (None entered)
                                                                                                                          NEW YORK, NY 10003
                                                                                                                          228 PARK AVENUE S.
26       OFFICESPACE SOFTWARE INC.        23ANDME, INC.     SERVICES ORDER FORM DATED 12/01/2019                              SUITE 39903              3/23/2025
                                                                                                                          NEW YORK, NY 10003
                                                                                                                       30000 MILL CREEK AVENUE
27       OFFICESPACE SOFTWARE INC.        23ANDME, INC.   ATA PROCESSING ADDENDUM DATED 06/01/2022                             SUITE 300               3/23/2025
                                                                                                                         ALPHARETTA, GA 30022
                                                                                                                           100 1ST STREET
28               OKTA, INC.               23ANDME, INC.           ORDER FORM DATED 01/19/2024                                                          3/23/2025
                                                                                                                       SAN FRANCISCO, CA 94105
                                                                                                                          245 MARKET STREET
                                                               INTERCONNECTION AGREEMENT DATED
29    PACIFIC GAS AND ELECTRIC COMPANY    23ANDME, INC.                                                                      MAIL CODE N7L             3/23/2025
                                                                          05/28/2020
                                                                                                                     SAN FRANCISCO, CA 94105-1702




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Other Contract Rejection Exhibit

                    Counterparty                         Debtor                           Description of                                    Counterparty            Rejection
 #
                       Name                            Counterparty                         Contract1                                         Address             Effective Date

     SHARP ELECTRONICS CORPORATION DBA                                                                                                   100 PARAGON DRIVE
30                                                    23ANDME, INC.        VALUE LEASE SUPPLEMENT DATED 12/03/2019                                                   3/23/2025
          SHARP BUSINESS SYSTEMS                                                                                                         MONTVALE, NJ 07645

     SHARP ELECTRONICS CORPORATION DBA                                                                                                   100 PARAGON DRIVE
31                                                    23ANDME, INC.            LEASE APPLICATION DATED 03/18/2022                                                    3/23/2025
          SHARP BUSINESS SYSTEMS                                                                                                         MONTVALE, NJ 07645

                                                                                                                                        2115 RINGWOOD AVE.
32       SILICON VALLEY MECHANICAL, INC.              23ANDME, INC.          STATEMENT OF WORK #2 DATED 03/01/2024                                                   3/23/2025
                                                                                                                                         SAN JOSE, CA 95131

                                                                               MASTER SERVICES AGREEMENT DATED                          2115 RINGWOOD AVE.
33       SILICON VALLEY MECHANICAL, INC.              23ANDME, INC.                                                                                                  3/23/2025
                                                                                           02/01/2023                                    SAN JOSE, CA 95131

                                                                                                                                        2115 RINGWOOD AVE.
34       SILICON VALLEY MECHANICAL, INC.              23ANDME, INC.          STATEMENT OF WORK #3 DATED 09/12/2024                                                   3/23/2025
                                                                                                                                         SAN JOSE, CA 95131

                                                                            PRIVACY AND SECURITY ADDENDUM DATED                          2425 CHANNING WAY
35            SIMPLE BUT NEEDED, INC.                 23ANDME, INC.                                                                                                  3/23/2025
                                                                                          03/15/2021                                     BERKELEY, CA 94704

                                                                               MASTER SERVICES AGREEMENT DATED                           2425 CHANNING WAY
36            SIMPLE BUT NEEDED, INC.                 23ANDME, INC.                                                                                                  3/23/2025
                                                                                           03/15/2021                                    BERKELEY, CA 94704

                                                                             PLATFORM AGREEMENT (SEGMENT) DATED                     101 SPEAR STREET, 5TH FLOOR
37                   TWILIO, INC.                     23ANDME, INC.                                                                                                  3/23/2025
                                                                                          08/01/2024                                  SAN FRANCISCO, CA 94105

     UNIVERSAL PROTECTION SERVICE, LP DBA                                                                                                229 N FIRST STREET
38                                                    23ANDME, INC.          STATEMENT OF WORK #2 DATED 05/25/2022                                                   3/23/2025
      ALLIED UNIVERSAL SECURITY SERVICES                                                                                                 SAN JOSE, CA 95132
                                                                                                                                        3207 GREY HAWK CT.
                                                                           VERISK 3E ORDER FORM – 3E PROTECT DATED
39                    VERISK 3E                       23ANDME, INC.                                                                           SUITE 200              3/23/2025
                                                                                          09/29/2020
                                                                                                                                         CARLSBAD, CA 92010
                                                                                                                                       131 WEST 35TH STREET
40                 VIVREAU USA LP                     23ANDME, INC.            RENTAL AGREEMENT DATED 10/03/2019                             8TH FLOOR               3/23/2025
                                                                                                                                        NEW YORK, NY 10001
                                                                                                                                         14 MADISON ROAD,
41                 VIVREAU USA LP                     23ANDME, INC.            RENTAL AGREEMENT DATED 11/01/2019                               UNIT D                3/23/2025
                                                                                                                                         FAIRFIELD, NJ 07004

Notes
[1] The agreements referenced herein include any amendments or modifications thereto




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